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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.                                                 HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03715-APM

 v.                                                 HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


      JOINT SUBMISSION OF GOOGLE AND MICROSOFT PURSUANT TO THE
               COURT’S MINUTE ORDER OF DECEMBER 10, 2024

       Pursuant to the Court’s December 10, 2024 Order, with respect to Microsoft’s proposed

redactions to agreements produced in response to Request No. 13 of Google’s subpoena, Google

and Microsoft report as follows: Having met and conferred yesterday, December 17, 2024, in an

attempt to resolve their disputes, the companies have reached impasse, and unresolved redactions

remain. By 12:00 p.m. tomorrow, December 19, 2024, Microsoft will deliver to the Court on a

thumb drive or external storage device the relevant agreements accompanied by a brief cover

letter identifying the bases for redaction or non-production of the provided agreement for the

Court’s in camera, ex parte review, ahead of the hearing scheduled for Friday, December 20,
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2024. Microsoft will provide Google with a copy of the cover letter.

Dated: December 18, 2024                     Respectfully submitted,

                                             By: /s/ John E. Schmidtlein
                                             John E. Schmidtlein (D.C. Bar No. 441261)
                                             Benjamin M. Greenblum (D.C. Bar No. 979786)
                                             Colette T. Connor (D.C. Bar No. 991533)
                                             WILLIAMS & CONNOLLY LLP
                                             680 Maine Avenue, SW
                                             Washington, DC 20024
                                             Tel: 202-434-5000
                                             jschmidtlein@wc.com
                                             bgreenblum@wc.com
                                             cconnor@wc.com

                                             WILSON SONSINI GOODRICH & ROSATI P.C.
                                             Franklin M. Rubinstein (D.C. Bar No. 476674)
                                             1700 K Street, NW
                                             Washington, DC 20006
                                             Tel: 202-973-8800
                                             frubinstein@wsgr.com

                                             ROPES & GRAY LLP
                                             Mark S. Popofsky (D.C. Bar No. 454213)
                                             2099 Pennsylvania Avenue, NW
                                             Washington, DC 20006
                                             Tel: 202-508-4624
                                             Mark.Popofsky@ropesgray.com

                                             Matthew McGinnis (admitted pro hac vice)
                                             Prudential Tower
                                             800 Boylston Street
                                             Boston, MA 02199
                                             Tel: 617-951-7703
                                             Matthew.McGinnis@ropesgray.com
                                             Counsel for Defendant Google LLC

                                             By: Julia Chapman
                                             Julia Chapman (pro hac vice)
                                             DECHERT LLP
                                             Cira Centre, 2929 Arch Street
                                             Philadelphia, PA 19104
                                             Tel.: (215) 994-2060
                                             Fax: (215) 994-2222
                                             julia.chapman@dechert.com


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                              John (Jay) Jurata, Jr. (DC Bar No. 478602)
                              DECHERT LLP
                              1900 K Street, NW
                              Washington, DC 20006
                              Tel.: (202) 261-3300
                              Fax: (202) 261-3333
                              jay.jurata@dechert.com

                              Russell P. Cohen (pro hac vice)
                              DECHERT LLP
                              45 Fremont Street, 26th Floor
                              San Francisco, CA 94105
                              Tel.: (415) 262-4506
                              Fax: (415) 262-4555
                              Russ.Cohen@dechert.com

                              Amy Ray (DC Bar No. 489086)
                              ORRICK, HERRINGTON, & SUTCLIFFE
                              LLP
                              2100 Pennsylvania Avenue NW
                              Washington, DC 20037
                              Tel.: (202) 239-8698
                              Fax: (202) 339-8500
                              amyray@orrick.com
                              Counsel for Non-Party Microsoft Corporation




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